Case 2:85-cv-04544-DMG-AGR Document 809 Filed 06/08/20 Page 1 of 4 Page ID #:37771



 1   JOSEPH H. HUNT
 2   Assistant Attorney General
     Civil Division
 3   WILLIAM C. PEACHEY
 4   Director, District Court Section
     Office of Immigration Litigation
 5   WILLIAM C. SILVIS
 6   Assistant Director, District Court Section
     Office of Immigration Litigation
 7   SARAH B. FABIAN
 8
     Senior Litigation Counsel, District Court Section
     Office of Immigration Litigation
 9         P.O. Box 868, Ben Franklin Station
10
           Washington, D.C. 20044
           Tel: (202) 532-4824
11         Fax: (202) 305-7000
12
           Email: sarah.b.fabian@usdoj.gov

13   Attorneys for Defendants
14

15                     UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     JENNY LISETTE FLORES; et al.,           ) Case No. CV 85-4544
17
                                             )
18           Plaintiffs,                     ) DEFENDANTS’ APPLICATION FOR
                                             ) LEAVE TO FILE UNDER SEAL
19
                  v.                         ) PORTIONS OF HHS JUVENILE
20                                           ) COORDINATOR REPORT
     WILLIAM P. BARR, Attorney               )
21
     General of the United States; et al.,   ) Hearing Date: Not Set
22                                           ) Time:
             Defendants.                     ) Dept:
23
                                             )
24                                           )
                                             )
25
                                             )
26
Case 2:85-cv-04544-DMG-AGR Document 809 Filed 06/08/20 Page 2 of 4 Page ID #:37772



 1
           Defendants submit this Application seeking leave from the Court to file under
 2   seal portions of the June 8, 2020 Report from the Juvenile Coordinator from the U.S.
 3   Department of Health and Human Services (“HHS”), filed concurrently herewith,
 4   pursuant to Federal Rule of Civil Procedure 5.2(d) and Local Rule 79-5. As required
 5   by Local Rule 79-5.2.2(a), Defendants submit concurrently with this application the
 6   declaration of Sarah B. Fabian, a proposed order, and an unredacted copy of the
 7   Report. On June 8, 2020, counsel for Defendants contacted counsel for Plaintiffs,
 8   Carlos Holguin and Holly Cooper, by email regarding Defendants’ proposed filing,
 9   and Ms. Cooper stated that Plaintiffs do not oppose Defendants’ request to file
10   portions of this Report under seal.
11         The document that Defendants seek to seal in part is:
12             • Juvenile Coordinator Report of Aurora Miranda-Maese
13   Defendants seek to seal the portions of this document that contain the names and
14   identifying information for ORR care providers because that information could
15   potentially be used to identify individuals who have tested positive for COVID-19,
16   in violation of their individual privacy rights. Given the potentially sensitive nature
17   of this information, there is compelling reason to file the Report partially under seal
18   in order to protect the privacy of the individuals identified in these records and to
19   avoid stigma or embarrassment to those individuals.
20                                         ARGUMENT
21         “[T]he courts of this country recognize a general right to inspect and copy

22   public records and documents, including judicial records and documents.” Nixon v.

23   Warner Communications, Inc., 435 U.S. 589, 597 & n.7 (1978); see also Foltz v.

24
     State Farm Mutual Auto Insurance Comp., 331 F.3d 1124, 1134 (9th Cir.2003).

25
     Accordingly, the default rule is that “[a] party seeking to seal a judicial record . . .

26
     bears the burden of overcoming this strong presumption [in favor of access to court

                                                1
Case 2:85-cv-04544-DMG-AGR Document 809 Filed 06/08/20 Page 3 of 4 Page ID #:37773



 1
     records] by meeting the ‘compelling reasons’ standard.” Kamakana v. City & Cty.
 2   Of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006). Compelling reasons support
 3   sealing portions of Ms. Miranda-Maese’s Report because it contains information that
 4   might lead the public to identify individuals who have tested positive for COVID-
 5   19 in ORR facilities. Courts have recognized individuals’ interest in the protection
 6   of such information. See Doe v. Beard, 63 F. Supp. 3d 1159, 1166 n.4 (C.D. Cal.
 7   2014) (collecting cases). Therefore, there is compelling reason to seal this
 8   information to protect the privacy interests of class members and staff at ORR
 9   facilities.
10   DATED:        June 8, 2020            Respectfully submitted,
11
                                           JOSEPH H. HUNT
12                                         Assistant Attorney General
                                           Civil Division
13

14                                         WILLIAM C. PEACHEY
                                           Director, District Court Section
15
                                           Office of Immigration Litigation
16
                                           WILLIAM C. SILVIS
17
                                           Assistant Director, District Court Section
18                                         Office of Immigration Litigation
19
                                           /s/ Sarah B. Fabian
20                                         SARAH B. FABIAN
                                           Senior Litigation Counsel
21
                                           Office of Immigration Litigation
22                                         District Court Section
                                           P.O. Box 868, Ben Franklin Station
23
                                           Washington, D.C. 20044
24                                         Tel: (202) 532-4824
                                           Fax: (202) 305-7000
25                                         Email: sarah.b.fabian@usdoj.gov
26
                                           Attorneys for Defendants
                                              2
Case 2:85-cv-04544-DMG-AGR Document 809 Filed 06/08/20 Page 4 of 4 Page ID #:37774



 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on June 8, 2020, I served the foregoing pleading on all

 4   counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system. Documents associated with this filing that are proposed to be filed under
 6
     seal will further be served on Plaintiffs’ counsel of record by other means.
 7

 8

 9
                                                   /s/ Sarah B. Fabian
                                                   SARAH B. FABIAN
10                                                 U.S. Department of Justice
11
                                                   District Court Section
                                                   Office of Immigration Litigation
12
                                                   Attorney for Defendants
13

14

15

16

17

18

19

20

21

22

23

24

25

26
